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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

INTERACTIVE GAMES LLC,                 )
                                       )
                    Plaintiff,         )
      v.                               )     C.A. No. 19-1105 (RGA)
                                       )
DRAFTKINGS, INC.,                      )
                 Defendant.            )


      DEFENDANT DRAFTKINGS INC.’S OPENING BRIEF IN SUPPORT OF ITS
    MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM PURSUANT TO
                FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)

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November 8, 2019
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I.     INTRODUCTION AND SUMMARY OF ARGUMENT

       Plaintiff Interactive Games LLC (“IG”) alleges that Defendant DraftKings Inc.

(“DraftKings”) infringes U.S. Patent Nos. 8,956,231 (Count I), 8,974,302 (Count II), 9,430,901

(Count III), and 8,616,967 (Count IV). The asserted patents claim nothing more than computer

implementations of abstract ideas related to limiting gambling activity based on location or time that

are ineligible for patent protection and therefore invalid under 35 U.S.C. § 101. Notably, this is not

the first time that IG and its affiliates have asserted plainly invalid claims against DraftKings. See

CG Tech. Dev., LLC v. DraftKings Inc., No. 2:16-cv-00781-RCJ-VCF, 2016 WL 7190547 (D. Nev.

Dec. 12, 2016). In that case, seven of ten patents were invalidated under § 101. See id. at *5. The

asserted claims of the remaining patents were later found to be unpatentable in inter partes review

proceedings. Because the asserted patents in this case also claim ineligible subject matter and do not

recite any inventive concept, the Court should dismiss Counts I-IV with prejudice.

II.    NATURE AND STAGE OF THE PROCEEDINGS

       IG filed this lawsuit on June 14, 2019. The Court has not yet entered a case schedule. The

parties agreed to extend DraftKings’ time to answer, move, or otherwise respond to the Complaint

until November 8, 2019. See D.I. 8. DraftKings hereby moves to dismiss Counts I-IV under Federal

Rule of Civil Procedure 12(b)(6) on the grounds that all claims of the asserted patents are not

directed to patentable subject matter and are invalid under 35 U.S.C. § 101.

III.   STATEMENT OF FACTS

       DraftKings will present the facts relevant to each patent in the argument subsections below.1




1
        All allegations and facts are taken from IG’s Complaint and exhibits thereto. No statement
herein is intended to suggest an admission as to any allegation set forth in the Complaint or that
DraftKings offers the same types of games or gaming concepts described in the patents-in-suit.
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IV.    LEGAL STANDARDS

       Abstract ideas are not patentable. See Alice Corp. Pty Ltd. v. CLS Bank Int’l, 573 U.S. 208,

216 (2014). Whether a claim covers an abstract idea is determined through a two-part test. Id.

at 217-18. Step one considers whether a claim’s “character as a whole” is “directed to” an abstract

idea. Elec. Power Grp., LLC v. Alstom S.A., 830 F.3d 1350, 1353 (Fed. Cir. 2016). A claim that

“only performs an abstract idea on a generic computer” is directed to an abstract idea. BSG Tech

LLC v. Buyseasons, Inc., 899 F.3d 1281, 1285 (Fed. Cir. 2018). Claims related to computer-

implemented wagering have been found to be abstract. DraftKings, 2016 WL 7190547, at *2.

       If a claim is directed to an abstract idea, step two considers whether the claim’s elements,

individually or as an ordered combination, “transform the nature of the claim” into an eligible

application. Alice, 573 U.S. at 217. The inquiry is not whether the claim “as a whole is

unconventional,” but whether the claim contains an “inventive concept” sufficient to ensure that it

amounts to significantly more than a patent on the abstract idea. BSG Tech, 899 F.3d at 1290.

Reciting conventional activity or limiting a claim to a particular technological environment is not

enough to transform an abstract claim into an eligible invention. See Alice, 573 U.S. at 222-25.

       Eligibility is “a question of law that may contain underlying issues of fact.” Interval

Licensing LLC v. AOL, Inc., 896 F.3d 1335, 1342 (Fed. Cir. 2018). Patent eligibility “may be, and

frequently has been, resolved on a Rule 12(b)(6)” motion. SAP Am., Inc. v. Investpic, LLC, 898 F.3d

1161, 1166 (Fed. Cir. 2018). While the Court must accept well-pleaded facts as true at this stage,

that tenet “is inapplicable to legal conclusions.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

V.     ARGUMENT

       A.      The ’231 and ’302 Patents Claim Ineligible Subject Matter

       The ’231 and ’302 Patents have nearly identical specifications that describe embodiments

purporting to “facilitate a customer placing a bet over a communication network using a mobile


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device” if the customer is in a location where placing the bet is allowed. Ex. A (“’231 Patent”)

at 36:44-48; Ex. B (“’302 Patent”) at 36:4-8.2 Claim 1 of each patent is shown below as examples:

        ’231 Patent – Claim 1                                ’302 Patent – Claim 1
1. An apparatus comprising:                       1. An apparatus comprising:
a machine readable medium having stored           a machine readable medium having stored
thereon a set of instructions that are            thereon a set of instructions that are
configured to cause a processor to:               configured to cause a processor to:
determine that a device is authorized to use a    determine whether a mobile device is
gaming service based on one or more               authorized to use a gaming service
characteristics of the device other than
location;
determine that a user of the device is            determine whether a user of the mobile device
authorized to use the gaming service;             is authorized to use the gaming service
                                                  to repeatedly:
determine that the device is associated with a    determine whether the mobile device is within
first location in which gaming activity is        or without a geographical area in which the
allowed;                                          user is allowed to engage in gaming activity
                                                  on the mobile device;
allow gaming activity based on the                allow or disallow the user's gaming activity
determination that the device is authorized,      based at least in part on the determination that
the determination that the user is authorized,    the mobile device is authorized, the
and the determination that the device is          determination that the user is authorized, and
associated with the first location;               the determination that the mobile device is
                                                  located within or without (respectively) the
                                                  gaming-allowed geographical area
determine a period of time relative to the        determine a period of time to elapse until the
determination of the first location after which   next repetition of determination whether the
a location redetermination of the device          mobile device is within or without the
should be made, in which the period of time is    gaming-allowed geographical area, the period
determined based on a distance of the first       of time to be based at least in part on a
location from a boundary of an area               distance of the mobile device from a boundary
                                                  of the gaming-allowed geographical area.
determine that the period of time has passed;
and
in response to determining that the period of
time has passed, determine whether the
device is associated with a second location in
which gaming activity is allowed.



2
       The ’302 Patent is a continuation-in-part of the ’231 Patent. The only substantive difference
between the two specifications is that the ’302 Patent describes an “example of a determination that
an operating system is approved” that is not in the ’231 Patent. See Ex. B, ’302 Patent at 44:22-57.


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               i.      Claim 1 of the ’231 Patent is representative of all claims

       Claim 1 of the ’231 Patent is representative of all claims of the ’231 and ’302 Patents.

Claim 1 of the ’302 Patent is very similar to Claim 1 of the ’231 Patent. Rather than explicitly

claiming a second location determination, as in Claim 1 of the ’231 Patent, Claim 1 of the ’302

Patent “repeatedly” determines the location of the device, allows or disallows gaming based on the

location, and determines a period of time until the next repetition. This is a distinction without a

difference for purposes of eligibility. Both claims are “substantially similar and linked to the same

abstract idea,” namely analyzing information, including periodically-determined location

information, to determine whether to allow gaming activity. Content Extraction & Transmission

LLC v. Wells Fargo Bank, Nat. Ass’n, 776 F.3d 1343, 1348 (Fed. Cir. 2014).

       As shown in Appendix A, the claims of both patents are not distinct for purposes of patent

eligibility. Each patent contains two independent claims, Claims 1 (discussed above) and 21. In

both patents, Claim 21 recites an apparatus further comprising “a mobile device” configured to

transmit requests, communicate via a service, and provide a user interface, and “a gaming service”

configured to perform the steps of Claim 1 of its respective patent. These elements do not change

the “focus” of the claims to something other than the abstract idea. The same is true of the

dependent claims, which are substantially similar in both patents. Thus, the Court should treat

Claim 1 of the ’231 Patent as representative of the ’302 Patent for purposes of this analysis.3

               ii.     Representative Claim 1 is directed to an abstract idea (Alice Step 1)

       The focus of Claim 1 “as a whole” is the abstract idea of analyzing information, including

periodically-determined location information, to determine whether to allow gaming activity. The

claim language and the specification support this characterization. Notably, six of the seven

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       Although DraftKings’ analysis focuses on Claim 1 of the ’231 Patent, DraftKings has
included corresponding citations to the ’302 Patent and addressed differences in claims where
appropriate.


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limitations of Claim 1 are “determine” steps. The patents provide explicit guidance regarding how

the term “determine” should be interpreted. See, e.g., ’231 Patent at 3:3-4 (“[S]ections I-X provide a

guide to interpreting the present application.”); ’302 Patent at 3:6-7. The patents explain that

“‘determining’ and grammatical variants thereof . . . is used in an extremely broad sense”:

        The term “determining” encompasses a wide variety of actions and therefore
        “determining” can include calculating, computing, processing, deriving,
        investigating, looking up (e.g., looking up in a table, a database or another data
        structure), ascertaining and the like. Also, “determining” can include receiving
        (e.g., receiving information), accessing (e.g., accessing data in a memory) and the
        like. Also, “determining” can include resolving, selecting, choosing, establishing,
        and the like.

Ex. A, ’231 Patent at 5:16-27 (emphasis added); Ex. B, ’302 Patent at 5:14-26. Thus, to “determine”

as recited in Claim 1 merely requires analyzing information; it does not refer to a particular

technological innovation or even an inventive concept. The “determine” steps (and Claim 1 as a

whole) are abstract because they are result-based and written so broadly that they encompass

virtually any means of determining and allowing gaming activity per the explicit definition recited in

the specification.

        The Federal Circuit has “treated analyzing information by steps people go through in their

minds . . . without more, as essentially mental processes within the abstract-idea category.” Elec.

Power Grp., 830 F.3d at 1354. Here, the specification admits that the steps could be “performed by

or with the assistance of a human.” Ex. A, ’231 Patent at 10:25-26; Ex. B, ’302 Patent at 10:18-19.

Moreover, “taking some action in response to the information” (e.g., allow gaming activity as in

Claim 1) is “abstract as an ancillary part of” such analysis. CalAmp Wireless Networks Corp. v.

ORBCOMM, Inc., 233 F. Supp. 3d 509, 512-13 (E.D. Va. 2017); see also FairWarning IP, LLC v.

Iatric Sys., Inc., 839 F.3d 1089, 1093 (Fed. Cir. 2016) (notifying a user when misuse is detected is

abstract).   Furthermore, “waiting until a particular point in time” to do something—here,




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determining a location—“is an old concept, used for decades” that is also an abstract idea. Fitbit

Inc. v. AliphCom, No. 16-CV-00118-BLF, 2017 WL 819235, at *15 (N.D. Cal. Mar. 2, 2017).

       IG may argue that Claim 1 is not abstract because it requires determining a device’s location.

But that is incorrect. DraftKings acknowledges that, in an earlier case between the parties, the

district court relied on its opinion in CG Tech. Dev., LLC v. Bwin.party (USA), No. 2:16-CV-00871-

RCJ-VCF, 2016 WL 6089696 (D. Nev. Oct. 18, 2016), to find that a claim involving a location

determination was patent-eligible. See DraftKings, 2016 WL 7190547, at *2. In Bwin, the court

concluded that a claim reciting “determining a first location of a mobile gaming device” was not

ineligible, because “determining an actual, physical location is not an abstract concept.” 2016 WL

6089696, at *4. That opinion, however, is not binding on this Court and is contrary to later Federal

Circuit precedent, and therefore should not control the outcome here. Specifically, the Federal

Circuit has since confirmed that merely reciting a generic location-determination step is not enough

to save a claim from abstraction or ineligibility. See Front Row Techs., LLC v. NBA Media

Ventures, LLC, 204 F. Supp. 3d 1190 (D.N.M. 2016), aff’d sub nom., Front Row Techs. LLC v.

MLB Advanced Media, L.P., 697 F. App’x 701 (Fed. Cir. 2017).

       Indeed, Claim 1 is closely analogous to an ineligible claim in Front Row. In Front Row, the

district court invalidated a claim that “determines a user’s location based on a handheld device’s

communications with a ‘computing device’” and “authorizes the user to receive streaming video . . .

based on his or her location.” Id. at 1280. The Federal Circuit affirmed the district court’s finding

that the claim was directed to the abstract idea of “authorizing handheld devices to receive streaming

video based on a user’s location.” Id. at 1269. Similarly, Claim 1 recites determining the location of

a device—without reciting any detail as to how it is done—and allowing gaming activity based on

the location. The fact that Claim 1 here allows gaming activity based on information in addition to




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location information cannot save it at step one. See Location Based Servs., LLC v. Niantic, Inc., 295

F. Supp. 3d 1031, 1053 (N.D. Cal. 2017), aff’d, 742 F. App’x 506 (Fed. Cir. 2018) (“Though this

claim requires more information to be considered in the altering of the map, this difference does not

render claim 1 non-abstract.”).

       Further, as in Front Row, Claim 1 does not recite an improvement to computer-related

technology. The ’231 and ’302 Patents do not purport to have invented a new way of determining

that a device/user is authorized or determining a device’s location, nor do they purport to have

improved the functioning of the generic components recited in the claims (e.g., the processor, mobile

device, or gaming service). Representative Claim 1 lacks any meaningful limitations that improve a

computer as a tool, reciting instead “nothing more than generic, pre-existing computer

functionality.” Interval Licensing, 896 F.3d at 1345. Claim 1 requires the functional results of

“determine” and “allow,” but does not describe how to achieve these results in a non-abstract way.

       The absence of any specific improvement to computer functionality distinguishes Claim 1

from claims found eligible at step one, and undermines IG’s repeated, conclusory assertions in its

Complaint that the ’231 and ’302 Patents claim “solutions to technological problems.” D.I. 1, ¶ 21.

Although IG alleges that remote wagering “presents unique technical problems,” IG fails to identify

any technical problem solved by the claims. Id., ¶ 19. Instead, IG identifies a laundry list of

business problems that it attempts to disguise as technical problems (e.g., “enabl[ing] secure remote

wagering . . . while simultaneously complying with the high standards set by regulators and

providing an improved customer experience”). Id., ¶ 20 (emphasis added). These are not technical

problems, but problems faced by any company operating in a highly-regulated field.

       Indeed, analyzing information, including periodically-determined location information, to

determine whether to allow gaming activity is a well-known, longstanding concept. For example,




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for many years, only certain jurisdictions in the United States have permitted real-money gambling

on casino games, typically subject to strict regulations. See, e.g., Ex. A, ’231 Patent at 74:30-75:43;

Ex. B, ’302 Patent at 68:46-69:59. The elements of Claim 1 are analogous to steps that any casino

operator would ordinarily take in operating its business, such as: checking an individual’s

identification to ensure that they are old enough to gamble and have not been blacklisted at the

casino (e.g., because they are a known cheater); and periodically ensuring that gambling occurs only

in approved areas (e.g., in the well-known case of casinos that straddle the border between California

and Nevada, ensuring that gambling takes place only in the portion of the establishment located in

Nevada). Claim 1 of the ’231 Patent simply recites performing this “abstract idea on a generic

computer.” BSG Tech., 899 F.3d at 1285. The Court should therefore proceed to step two.

               iii.    Representative Claim 1 lacks an inventive concept (Alice Step 2)

       Claim 1 does not contain an inventive concept. The “determine” and “allow” steps amount

to a claim to the abstract idea itself and cannot add significantly more. See BSG Tech., 899 F.3d

at 1290 (“[A] claimed invention’s use of the ineligible concept to which it is directed cannot supply

the inventive concept[.]”). Even if these elements could supply an inventive concept, they do not, as

they barely recite any limitations beyond the abstract concept. Importantly, Claim 1 “fails to explain

how the elements will accomplish their intended result.” Front Row, 204 F. Supp. 3d at 1280-81.

The “general language” of the claim elements relating to authorization, location determination, and

allowing gaming are not specific and are similar to limitations that other courts have dismissed.

Secure Mail Sols. LLC v. Universal Wilde, Inc., 169 F. Supp. 3d 1039, 1056 (C.D. Cal. 2016), aff’d

sub nom. Secured Mail Sols. LLC v. Universal Wilde, Inc., 873 F.3d 905 (Fed. Cir. 2017). Although

Claim 1 requires determining a period of time based on a distance from a boundary and a second

location determination thereafter, these aspects (and the analogous elements in the ’302 Patent) fail

to impart an inventive concept. “[P]eriodically updating data is a routine and conventional computer


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function.” Location Based Services, 295 F. Supp. 3d at 1057. This limitation simply restricts the

manner in which one step of the claim is performed and “has no transformative effect on the rest of

the” claim. Fitbit, 2017 WL 819235, at *17.

       Nothing else transforms Claim 1 into an eligible application. The only additional element is

a “machine readable medium,” which merely “spell[s] out” what it means to apply the abstract idea

on a computer and “cannot confer patent eligibility.” Intellectual Ventures I LLC v. Capital One

Bank (USA), 792 F.3d 1363, 1370 (Fed. Cir. 2015). The other conventional elements recited in the

claims (e.g., a processor or mobile device) do not supply an inventive concept, because “generic

computer implementation” of an abstract idea does not render a claim eligible. Alice, 573 U.S.

at 221. Here, the specifications confirm that the processes they describe may be implemented by

“general purpose computers.” Ex. A, ’231 Patent at 8:30-34; Ex. B, ’302 Patent at 8:21-25.

       The dependent claims of the ’231 Patent also fail to supply an inventive concept. Claims 2

and 3 allow or prevent gaming activity based on location, which is nothing more than the same

abstract idea. Claims 6 and 17 recite “geofenc[ing],” which the specifications confirm was a well-

known technology for determining a device’s location that was commercially available from many

providers. See, e.g., Ex. A, ’231 Patent at 36:64-37:14 (describing that a gaming operator could

implement geofencing technology by working “with Sprint, another geofencing provider, and/or a

third party provider”); Ex. B, ’302 Patent at 36:24-35. The other dependent claims narrow the

information analyzed in the “determine” steps, which is insufficient to supply an inventive concept.

See BSG Tech, 899 F.3d at 1291 (“As a matter of law, narrowing or reformulating an abstract idea

does not add ‘significantly more’ to it.”). The dependent claims of the ’302 Patent are substantially

similar and fail to supply an inventive concept for analogous reasons. See Appendix A.




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        Considered as an ordered combination, Claim 1 merely recites a computer implementation of

the abstract idea of analyzing information, including periodically-determined location information,

to determine whether to allow gaming activity. Claim 1 does not require a particular configuration

or arrangement of system components (it only requires a machine readable medium), and neither do

any of the dependent claims. The same is true of Claim 21 of the ’231 Patent and its dependent

claims (and the analogous claims of the ’302 Patent). There is also nothing inventive about the

ordering of steps, as the specifications acknowledge that “[o]ther embodiments may include

differently ordered actions, different components, no actions, more actions, fewer actions, and so

on.” Ex. A, ’231 Patent at 45:43-45; Ex. B, ’302 Patent at 45:32-34.

        The attorney argument in IG’s Complaint does not save the claims at step two either, nor

create a fact issue that precludes resolving eligibility at the Rule 12(b)(6) stage. First, the Court is

“not required” to accept IG’s “legal conclusions as true, even if couched as factual allegations.”

Bridge & Post, Inc. v. Verizon Commc’ns, Inc., No. 2018-1697, 2019 WL 2896449, at *10 (Fed. Cir.

July 5, 2019) (“That includes [plaintiff’s] repeated characterization of its inventions as ‘technical

innovations.’”). Second, the Complaint does not include any concrete, factual allegations that the

claim elements were not well-understood, routine, and conventional at the time of the alleged

invention. Third, IG’s allegations that the claims solve technical problems are unsupported by

plausible, factual allegations.    IG merely couches business concerns (e.g., complying with

regulations or providing an improved customer experience) as technical problems without

identifying any technical impediment to enabling “remote wagering.” D.I. 1, ¶ 20.

        Fourth, IG’s Complaint alleges inventive features described in the specifications but not

recited in the claims. For example, no claim requires a “multisystem secure authentication protocol”

or the detailed steps shown in Figure 3 of the ’302 Patent reproduced in IG’s Complaint. Id., ¶ 20.




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Thus, IG’s allegations fail to raise a fact dispute regarding eligibility, because eligibility “depends on

what is claimed, not all that is disclosed in the specification.” Trading Techs. Int’l, Inc. v. IBG LLC,

921 F.3d 1084, 1095 (Fed. Cir. 2019). Fifth, IG’s reliance on the alleged novelty of the claims to

support eligibility is misplaced. See D.I. 1, ¶ 29. “[M]erely reciting an abstract idea by itself in a

claim—even if the idea is novel and non-obvious—is not enough to save it from ineligibility.”

Solutran, Inc. v. Elavon, Inc., 931 F.3d 1161, 1169 (Fed. Cir. 2019).

        B.      The ’901 Patent Claims Patent-Ineligible Subject Matter

        The ’901 Patent specification describes a gaming system that enables and/or disables

particular functions of a “communication device” based on its location and limits the duration of

wagering activity according to any number of different parameters. See Ex. C (“’901 Patent”)

at 10:27-28, 11:10-13, 14:55-58. Although the specification describes limiting the duration of

wagering activity according to a variety of different parameters, the asserted claim—incredibly—

simply covers turning wagering functionality off after a period of non-use. Claim 27 recites:

                27. A method comprising:
                before using a communication device to play games through a wireless
        communication network, associating, by a computing device, each of a plurality of
        sets of signal characteristics with a respective location, each set of signal
        characteristics including a respective plurality of signal characteristics and each
        signal characteristic of a respective plurality of signal characteristics corresponding
        to a signal between a device and a wireless network device;
                determining a location of the communication device by comparing, by the
        computing device, a set of signal characteristics involving the communication device
        and a plurality of wireless network devices to the prior associated sets of signal
        characteristics;
                wherein a gaming functionality of the communication device is enabled
        based upon the determined location; and
                disabling the wagering functionality in response to a period of non-use of
        the communication device.

Claim 27 is representative, because the claims are “substantially similar and linked to the” abstract

ideas of: collecting information, analyzing it to determine a location, and taking an action based on

the analysis; and restricting an activity based on a timer. Content Extraction, 776 F.3d at 1348.


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                i.      Claim 27 is directed to an abstract idea (Alice Step 1)

        Claim 27 combines two abstract concepts—(1) collecting information, analyzing it, and

taking an action based on the analysis; and (2) restricting an activity based on a timer—e.g., turn it

off after a period of non-use. The combination cannot change its abstract nature. “Adding one

abstract idea . . . to another abstract idea . . . does not render the claim non-abstract.” RecogniCorp,

LLC v. Nintendo Co., 855 F.3d 1322, 1327 (Fed. Cir. 2017); see also FairWarning, 839 F.3d at 1097

(claims directed to a combination of three abstract idea categories were abstract at step one).

        The first three steps of Claim 27 amount to nothing more than collecting information (i.e.,

sets of signal characteristics of respective locations), analyzing the information (i.e., comparing

signal characteristics of a device to the sets of signal characteristics to determine a location), and

taking an action based on the analysis (i.e., turning on a gaming functionality). It is well-settled that

“collecting information, including when limited to particular content,” and analyzing it is abstract.

Elec. Power Grp., 830 F.3d at 1353-54; see also Smartgene Inc. v. Advanced Biological Labs., SA,

555 F. App’x 950, 954-55 (Fed. Cir. 2014) (finding ineligible claims directed to the abstract idea of

comparing stored and input data). And, as discussed above, taking an action in response to the

analyzed information (e.g., enabling “functionality” as in Claim 27) is abstract as an ancillary part of

the analysis. See, e.g., Front Row, 204 F. Supp. 3d at 1269 (finding claim that authorizes a user to

receive streaming video based on location directed to an abstract idea).

        The remaining element, the “disabling” step, is the epitome of an abstract idea: turning a

function off after a period of non-use—in other words, a gambling alarm clock. This is nothing

more than restricting activity based on a rule (in this case, simply a timer), which the Federal Circuit

has routinely held is abstract. See Maxell, Ltd. v. Fandango Media, LLC, No. CV 17-07534 AG

(SSX), 2018 WL 4502492, at *4 (C.D. Cal. Sept. 11, 2018), aff’d, No. 2019-1088, 2019 WL

4941873 (Fed. Cir. Oct. 8, 2019) (collecting cases). Indeed, “imposing specific event-based


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restrictions on activity is . . . something that humans have done in many contexts throughout human

history.” Id. (finding claim reciting “enabling” and “disabling” playback functionality abstract).

        The fact that Claim 27 is limited to restrictions on gaming or wagering functionality merely

limits the abstract idea of turning off functionality to a particular field. But limiting the claim to the

“particular technological environment” of remote gaming is insufficient to transform it into a patent-

eligible application of the abstract idea at its core. Elec. Power Group, 830 F.3d at 1354.

        Claim 27 does not recite an improvement to computer-related technology. Claim 27 uses

generic elements (e.g., a communication device, wireless network, and wireless network devices) to

carry out the abstract idea, which does not save the claim from abstraction. Rather, for an

application of an abstract idea to save the claim at step one, the claim’s focus must be something

other than the abstract idea itself. See BSG Tech, 899 F.3d at 1285. Here, by contrast, Claim 27

recites the functional results of “associating,” “determining,” “comparing,” and “disabling,” but does

not describe how to achieve these results in a non-abstract way. The claims do not recite any

improvement to how signal characteristics are obtained or analyzed, how the location of a device is

determined, or how gaming or wagering functionality is enabled or disabled.

        IG’s allegations that the claims address technical problems of “enabling remote wagering”

lack merit and cannot change the abstract nature of the claims. D.I. 1, ¶¶ 32, 34. Notably, IG’s

Complaint does not identify any specific technical impediment to enabling remote wagering; it

merely assumes that there was a technical problem and makes unsupported allegations that the

claims solved it. The problem for IG is that most of the alleged difficulties identified in the

Complaint (e.g., complying with regulations) are not technical problems. Although IG alleges that

the ’901 Patent solved the problem of “accurately detecting the location of a device” (id., ¶ 33), this

assertion is inconsistent with the ’901 Patent, which does not disclose any new method of




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determining a device’s location and relies entirely on existing, well-understood technology for that

purpose. See, e.g., Ex. C, ’901 Patent at 7:28-34, 8:23-29, 10:25-11:9. Because Claim 27 is directed

to an abstract idea, not a technical improvement, the Court should proceed to step two.

               ii.     Claim 27 does not recite an inventive concept (Alice Step 2)

       There is no inventive concept in Claim 27. Limiting the claim to the environment of remote

gaming is “insufficient to transform” it into an eligible application. Elec. Power Grp., 830 F.3d

at 1354. The additional elements—a communication device, wireless communication network,

computing device, device, and wireless network devices—are admittedly conventional. See, e.g.,

Ex. C, ’901 Patent at 3:28-30 (the “network” is a conventional cellular, wireless, or wireline

network), 5:9-11, 15:58-61 (“any type of known wireless communication” may be used), 3:55-60

(the “communication device” is “any suitable device”), 5:30-32, 4:31-47, 9:59-62 (the signal

detection devices are conventional “wireless access points, wireless routers, wireless base stations,

satellites, or any other suitable signal detection device”). These generic elements “are not even

arguably inventive” and cannot supply an inventive concept. Elec. Power Grp., 830 F.3d at 1355.

       The “associating,” “determining,” “comparing,” and “disabling” steps amount to a claim to

the abstract idea itself and thus cannot add “significantly more[.]” BSG Tech., 899 F.3d at 1290.

Regardless, the specification confirms that these steps recite well-understood, routine, and

conventional activity. The inventors of the ’901 Patent did not invent a new way of determining the

location of a device (e.g., based on signal characteristics or otherwise), or a new way of turning

functionality on and off. Rather, the specification describes well-known signal-based location-

detection techniques such as “Received Signal Strength Indication (RSSI) value or any other suitable

indication of signal strength” and “Time Difference of Arrival (TDOA), or any other suitable

technology,” none of which IG purports to have invented. Ex. C, ’901 Patent at 10:25-11:9; see also

id. at 8:23-29 (“any type of location verification may be used”); 7:28-34 (listing known location


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verification techniques). Moreover, Claim 27 provides no detail regarding how to enable or disable

gaming functionality. This “result-focused, functional” claim language “has been a frequent feature

of claims held ineligible under § 101[.]” Elec. Power Grp., 830 F.3d at 1356.

       Considered as an ordered combination, Claim 27 does not recite any “non-conventional and

non-generic arrangement” that could save it at step two. Cf. Bascom Glob. Internet Servs., Inc. v.

AT&T Mobility LLC, 827 F.3d 1341, 1350 (Fed. Cir. 2016). The specification confirms that no

inventive arrangement of elements was contemplated by the ’901 Patent. The configurations

described in the specification are examples and “may be modified[.]” Ex. C, ’901 Patent at 6:52-54.

The location of the server of the gaming service “is not critical.” Id. at 3:62-67. The decision to

permit or prohibit gaming activity “may be made at the gaming communication device, at the

gaming server, or at any of the components of the telecommunications network[.]” Id. at 9:16-22;

see also id. at 9:63-10:2 (signal detection devices may be “anywhere inside or outside of” a casino

complex). Thus, the combination of elements in Claim 27 does not supply an inventive concept.

       The attorney argument in IG’s Complaint does not save Claim 27 at step two. The

Complaint does not include any factual allegations that the elements of Claim 27 (alone or in

combination) were anything other than well-understood, routine, and conventional at the time of the

alleged invention or improved the functioning of the underlying technology. This is not surprising,

given the specification’s admissions that the claims rely on conventional technology. Furthermore,

IG’s conclusory allegation that the claims solve technical problems is unsupported by any plausible

factual allegations. As with the ’231 and ’302 Patents discussed above, IG reformulates business

concerns (e.g., complying with regulations) as technical problems without identifying any technical

impediment to “enabling remote wagering” in compliance with regulations. See D.I. 1, ¶¶ 32-33.




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        IG again relies on features described in the specification, but not claimed, to support its

allegations of inventiveness. Claim 27 does not require these features—i.e., periodically updating

information (which, in any event, is a conventional computer function) or providing multi-layered

authentication. See D.I. 1, ¶¶ 32, 34. Because eligibility “depends on what is claimed,” IG’s

allegations fail to raise a fact dispute. Trading Techs., 921 F.3d at 1095. IG’s further allegation that

the claims are novel “is not enough to save it from ineligibility.” Solutran, 931 F.3d at 1169.

        C.      The ’967 Patent Claims Patent-Ineligible Subject Matter

        The ’967 Patent describes a “gaming system” that “allows users to access applications via

gaming communication devices coupled to a communication network.” See Ex. D (“’967 Patent”) at

Abstract. The claims, however, cover nothing more than the abstract concept of authorizing wager-

based gaming on a device based on location and elapsed time, which is no different than a parent

restricting a child’s screen time while at home. Claim 1 recites:

                1. An apparatus comprising:
                at least one processor; and
                at least one memory device electronically coupled to the at least one
        processor, in which the at least one memory device stores instructions which, when
        executed by the at least one processor, direct the at least one processor to:
                determine that a gaming device is located within an approved gaming area,
                in which a user of the gaming device is permitted to engage in at least one
        wager-based gaming activity via the gaming device when the gaming device is used
        by the user from within approved gaming areas,
                in which the user is not permitted to engage in the at least one wager-based
        gaming activity via the gaming device when the gaming device is used by the user
        from within unapproved gaming areas, and
                in which the apparatus is operable to communicate with the gaming device
        via a wireless communications network;
                permit the user to engage in the at least one wager-based gaming activity via
        the gaming device based at least in part on determining that the gaming device is
        located within the approved gaming area;
                increment a counter as the user engages in the at least one wager-based
        gaming activity via the gaming device from within the approved gaming area,
                in which the counter comprises an amount of time, and
                in which the user is permitted to engage in the at least one wager-based
        gaming activity via the gaming device for a predetermined amount of time;



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                after determining that the gaming device is located within the approved
        gaming area, determine that the gaming device moved to a location within an
        unapproved gaming area; and
                based at least in part on determining that the gaming device is located within
        the unapproved gaming area:
                (i) not permit the user to engage in the at least one wager-based gaming
        activity via the gaming device; and
                (ii) stop incrementing the counter.

Claim 1 is representative of all claims. Claim 15 recites a method that corresponds to Claim 1. The

other independent claims, Claims 7 and 18, are substantially similar to Claims 1 and 15, except that

Claims 7 and 18 require “incrementing a counter while the gaming device is activated.” This

insubstantial difference does not change the “focus” of Claims 7 and 18. All of the claims are

“substantially similar and linked to the same abstract idea,” namely authorizing wager-based gaming

activity based on location information and elapsed time. Content Extraction, 776 F.3d at 1348. The

dependent claims narrow how a location is determined (e.g., Claims 2 and 8) or the type of activity

(e.g., Claims 5, 6, 13, and 14), or recite insignificant post-solution activity (e.g., Claims 3-4, 9-12,

16-17, and 19-20), none of which changes the focus of the claims.

                i.      Claim 1 is directed to an abstract idea (Alice Step 1)

        Claim 1 recites essentially six steps: (1) determining that a device is located in an approved

area; (2) permitting the user to engage in a wager-based gaming activity based on the location;

(3) incrementing a counter as the user engages in the activity, to limit the user to a permitted activity

for a predetermined amount of time; (4) determining that the device moved to a location in an

unapproved area; (5) not permitting the user to engage in the activity based on the second location;

and (6) stopping incrementing the timer. Considered as a whole, Claim 1 is directed to the abstract

idea of authorizing wager-based gaming activity based on location information and elapsed time.

See Elec. Power Grp., 830 F.3d at 1353 (Alice, step one, considers a claim’s “character as a whole”).

The other elements merely limit the claim to a particular environment (remote gaming).



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       Claim 1 is analogous to the ineligible claim in Front Row. In Front Row, a claim directed to

authorizing a user to receive streaming video based on location was found to be directed to an

abstract idea. See 204 F. Supp. 3d at 1269, 1280. Similarly, Claim 1 determines whether a device

“is located within an approved gaming area” or “an unapproved gaming area” and authorizes gaming

activity based on the location. That Claim 1 permits gaming activity based on “a predetermined

amount of time” in addition to location cannot save the claim at step one. See Location Based

Servs., 295 F. Supp. 3d at 1053 (“Though this claim requires more information to be considered in

the altering of the map, this difference does not render claim 1 non-abstract.”). This amounts to

nothing more than restricting an activity based on rules (here, a temporal restriction), which is an

abstract idea. See Maxell, 2018 WL 4502492, at *4.

       Notably absent from Claim 1 is any detail regarding how the steps are performed. Claim 1

does not recite how to determine that a device is located in an approved area or has moved to an

unapproved area, how to permit the user to engage in the gaming activity, or how the counter is

incremented. At this level of generality, “the claims do no more than describe a desired function or

outcome, without providing any limiting detail that confines the claim to a particular solution to an

identified problem.” Affinity Labs of Tex., LLC v. Amazon.com, Inc., 838 F.3d 1266, 1269 (Fed. Cir.

2016). Thus, the focus of Claim 1 is not a technical improvement but rather the abstract idea of

authorizing wager-based gaming activity based on location information and elapsed time.

       Indeed, there is no suggestion in the ’967 Patent that the functioning of any of the underlying

technology (e.g., the processor or memory device in Claim 1) is improved. Although IG alleges that

the ’967 Patent “discloses technological solutions to a technological problem in the field of user and

device verification and authorization for remote gambling systems” (D.I. 1, ¶ 32), IG again fails to

identify any specific technical problem solved by the claims. See, e.g., id., ¶¶ 32, 34. Because




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Claim 1 merely recites steps for authorizing gaming activity based on location information and

elapsed time at a high level using abstract, result-based and functional language, the claims are

directed to an abstract idea and the Court should proceed to step two.

               ii.     Claim 1 does not recite an inventive concept (Alice Step 2)

        Claim 1 does not contain a saving inventive concept. Limiting the claim to the particular

environment of remote gaming is “insufficient to transform” the claim into an eligible application.

Elec. Power Grp., 830 F.3d at 1354. The generic “processor” and “memory device” merely spell out

how to “apply it on a computer” and cannot confer eligibility. Intellectual Ventures, 792 F.3d at

1370.   The specification confirms that the other elements—a gaming device and wireless

communications network—are off-the-shelf, conventional computer and network technology. See,

e.g., Ex. D, ’967 Patent at 3:34-38 (the “gaming communication device” may be “any suitable

device”), 4:16-24 (listing well-known wireless and wireline technologies that may be used).

        The “determine,” “permit,” “increment,” “not permit,” and “stop incrementing” steps amount

to a claim to the abstract idea and cannot add “significantly more[.]” BSG Tech., 899 F.3d at 1290.

Moreover, nothing in these steps is inventive. The location-determination steps rely on conventional

technology and not any innovative way of determining a location. See Ex. D, ’967 Patent at 7:5-11

(listing known location verification technologies), 7:66-67 (“any type of location verification may be

used”). The claim does not “permit” or “not permit” activity in an innovative or unconventional

way—Claim 1 recites nothing about how these steps are implemented. Finally, there is nothing

inventive about incrementing (or stopping incrementing) a counter or the claimed predetermined

amount of time. “[T]he idea of using a timer” is conventional. Orcinus Holdings, LLC v.

Synchronoss Techs., Inc., 379 F. Supp. 3d 857, 876 (N.D. Cal. 2019).

        Considered as an ordered combination, Claim 1 still lacks an inventive concept. Claim 1

recites a conventional ordering of steps that one would expect when applying the abstract idea of


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authorizing wager-based gaming activity based on location information and elapsed time. There is

no unconventional arrangement of elements—Claim 1 recites only a processor and a memory device.

Cf. Bascom, 827 F.3d at 1350. This is confirmed by the specification, which acknowledges that the

“configuration of the overall gaming system” is exemplary and “may be modified,” the location of

the server constituting the gaming service “is not critical,” and “the decision to permit or prohibit a

gaming activity” can be made virtually anywhere. Ex. D, ’967 Patent at 3:40-46, 6:29-32, 8:57-63.

       The dependent claims also fail to provide an inventive concept. There is nothing inventive

about determining that the gaming device is not in the approved area as recited in Claims 2 and 8.

Claims 5, 6, 13, and 14 limit the type of gaming activity, while Claims 3-4, 9-12, 16-17, and 19-20

recite steps that require performing the abstract idea again. But “narrowing or reformulating an

abstract idea does not add ‘significantly more’ to it.” BSG Tech, 899 F.3d at 1291.

       The claims of the ’967 Patent therefore lack an inventive concept. IG’s Complaint does not

compel a different conclusion. IG does not allege that any of the elements of Claim 1 (or any other

claims of the ’967 Patent), alone or as an ordered combination, were not well-understood, routine,

and conventional at the time of the alleged invention. Indeed, IG’s Complaint makes the same

conclusory allegations regarding alleged technical problems solved by the ’967 Patent and purported

novelty as it does for the ’901 Patent. For analogous reasons to those described above in relation to

the ’901 Patent, the allegations in IG’s Complaint do not save the claim at step two or create a fact

issue that precludes resolving the issue of eligibility at the Rule 12(b)(6) stage.

VI.    CONCLUSION

      For the above reasons, the claims of the ’231, ’302, ’901, and ’967 Patents are invalid for

failing to claim patent-eligible subject matter under 35 U.S.C. § 101. DraftKings respectfully

requests that the Court grant DraftKings’ motion and dismiss Counts I-IV with prejudice.




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November 8, 2019




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                                          APPENDIX A

             ’231 Patent                                           ’302 Patent
1. An apparatus comprising:                       1. An apparatus comprising:
a machine readable medium having stored           a machine readable medium having stored
thereon a set of instructions that are            thereon a set of instructions that are
configured to cause a processor to:               configured to cause a processor to:
determine that a device is authorized to use a    determine whether a mobile device is
gaming service based on one or more               authorized to use a gaming service
characteristics of the device other than
location;
determine that a user of the device is            determine whether a user of the mobile device
authorized to use the gaming service;             is authorized to use the gaming service
                                                  to repeatedly:
determine that the device is associated with a    determine whether the mobile device is within
first location in which gaming activity is        or without a geographical area in which the
allowed;                                          user is allowed to engage in gaming activity
                                                  on the mobile device;
allow gaming activity based on the                allow or disallow the user's gaming activity
determination that the device is authorized,      based at least in part on the determination that
the determination that the user is authorized,    the mobile device is authorized, the
and the determination that the device is          determination that the user is authorized, and
associated with the first location;               the determination that the mobile device is
                                                  located within or without (respectively) the
                                                  gaming-allowed geographical area
determine a period of time relative to the        determine a period of time to elapse until the
determination of the first location after which   next repetition of determination whether the
a location redetermination of the device          mobile device is within or without the
should be made, in which the period of time is    gaming-allowed geographical area, the period
determined based on a distance of the first       of time to be based at least in part on a
location from a boundary of an area               distance of the mobile device from a boundary
                                                  of the gaming-allowed geographical area.
determine that the period of time has passed;
and
in response to determining that the period of
time has passed, determine whether the device
is associated with a second location in which
gaming activity is allowed.
2. The apparatus of claim 1, in which the         2. The apparatus of claim 1, in which the
instructions are configured to cause the          instructions are configured to cause the
processor to continue to allow the gaming         processor to:
activity in response determining that the
device is associated with the second location.    continue to allow the gaming activity in
                                                  response determining that the mobile device
                                                  remains within the gaming-allowed
                                                  geographical area.
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               ’231 Patent                                       ’302 Patent
3. The apparatus of claim 1, in which the        3. The apparatus of claim 1, in which the
instructions are configured to cause the         instructions are configured to cause the
processor to prevent the gaming activity in      processor to:
response to determining the device is
associated with a third location in which        prevent the gaming activity in response to
gaming activity is not allowed.                  determining the mobile device is no longer
                                                 within the gaming-allowed geographical area.
4. The apparatus of claim 1, in determining      4. The apparatus of claim 1, in which the
that the device is authorized include            instructions are further configured to cause the
determining that a mobile telephone number       processor to:
of the device has been signed up to have
access to the gaming service.                    determine whether the mobile device is
                                                 authorized by determining whether a mobile
                                                 telephone number of the mobile device has
                                                 been signed up for the gaming service.
5. The apparatus of claim 1, in which            5. The apparatus of claim 1, in which the
determining that the user is authorized          instructions are further configured to cause the
includes authenticating a login and password.    processor to:

                                                 determine whether the user is authorized
                                                 based at least in party on authenticating a
                                                 login and password.
6. The apparatus of claim 1, in which            6. The apparatus of claim 1, in which the
determining that the device is associated with   instructions are further configured to cause a
the first location in which gaming activity is   processor to:
allowed includes querying a geofencing
service.                                         determining whether the mobile device is
                                                 located within or without the gaming-allowed
                                                 geographical area by querying a geofencing
                                                 service.
7. The apparatus of claim 1, further
comprising the processor.
                                                 7. The apparatus of claim 1, in which the
                                                 instructions are further configured to cause the
                                                 processor to:

                                                 determine whether an operating system of the
                                                 mobile device is authorized to use the gaming
                                                 service.
8. The apparatus of claim 1, in which            8. The apparatus of claim 1, in which the
determining the period of time includes          instructions are further configured to cause the
determining a period of time that is larger      processor to:
when the distance is larger and smaller when
the distance is smaller.                         determine the inter-repetition period of time
                                                 by determining a period of time that is larger
                                                 when the distance is larger and smaller when


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                                                 the distance is smaller.
9. The apparatus of claim 1, in which            9. The apparatus of claim 1, in which the
determining the period of time includes          instructions are further configured to cause the
determining a period of time that is             processor to:
proportionate to the distance.
                                                 determine the inter-repetition period of time
                                                 by determining a period of time that is
                                                 proportional to the distance to the boundary.
10. The apparatus of claim 1, in which           10. The apparatus of claim 1, in which the
determining the period of time includes          instructions are further configured to cause the
determining the period of time based on a        processor to:
speed and the distance.
                                                 determine the inter-repetition period of time
                                                 by determining the period of time based at
                                                 least in part on a speed of travel of the mobile
                                                 device and the distance to the boundary.
11. The apparatus of claim 10, in which          11. The apparatus of claim 10, in which the
determining the period of time includes          instructions are further configured to cause the
determining a period of time that is             processor to:
proportional to the speed and the distance.
                                                 determine the inter-repetition period of time
                                                 by determining a period of time that is
                                                 proportional to the speed of travel of the
                                                 mobile device and the distance to the
                                                 boundary.
12. The apparatus of claim 10, in which the      12. The apparatus of claim 10, in which the
instructions are configured to cause the         instructions are configured to cause the
processor to determine a location prior to the   processor to:
first location and determine the speed based
on the first location and the prior location.    determine a speed of travel of the mobile
                                                 device based at least in part on a sequence of
                                                 two or more locations determined for the
                                                 mobile gaming device.
13. The apparatus of claim 10, in which the      13. The apparatus of claim 10, in which the
determining the period of time includes          instructions are further configured to cause the
determining the period of time based on the      processor to:
speed, the distance, and a direction.
                                                 determine the inter-repetition period of time
                                                 by determining the period of time based at
                                                 least in part on the speed of travel of the
                                                 mobile device, the distance, and a direction of
                                                 travel of the mobile device.
14. The apparatus of claim 13, in which the      14. The apparatus of claim 13, in which the
instructions are configured to cause the         instructions are configured to cause the
processor to determine a location prior to the   processor to:
first location and determine the direction


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based on the first location and the prior        determine a direction of travel of the mobile
location.                                        device based at least in part on a sequence of
                                                 two or more locations determined for the
                                                 mobile gaming device.
15. The apparatus of claim 13, in which the      15. The apparatus of claim 13, in which the
direction includes a direction relative to a     direction includes a direction relative to a
direction of travel of the device.               direction of travel of the mobile device.
16. The apparatus of claim 1, in which the       16. The apparatus of claim 1, in which the
period of time includes a period of time that is instructions are further configured to cause the
greater when the boundary includes a             processor to:
boundary of a state than when the boundary
includes a boundary within a state.              determine the inter-repetition period of time to
                                                 be greater when the boundary includes a
                                                 boundary of a state than when the boundary
                                                 includes a boundary within a state.
17. The apparatus of claim 1, in which the       17. The apparatus of claim 1, in which the
boundary includes a boundary of a geofence.      boundary includes a boundary of a geofence.
18. The apparatus of claim 1, in which
determining that the device is authorized
includes determining that one or more
communication ports of the device are
disabled.
19. The apparatus of claim 1, in which           18. The apparatus of claim 1, in the
determining that the device is authorized        instructions are further configured to cause the
includes determining comparing a hashed          processor to:
value based on at least one file stored on the
device to an approved hashed value based on determine whether the mobile device is
the at least one application.                    authorized by generating a first hash from a
                                                 first portion of an approved operating system
20. The apparatus of claim 1, in which           file that is less that the entirety of the file and
determining that the device is authorized        a length of the file; receiving an indication of
includes determining that one or more            a second hash generated by the mobile device
communication ports of the device are            of the portion of the operating system file run
disabled, comparing a hashed value based on by the mobile device and a length of the file
at least one file stored on the device to an     run by the mobile device, and comparing the
approved hashed value based on the at least      second hash.
one application, and determining that a mobile
telephone number of the device has been
signed up for the gaming service.
                                                 19. The apparatus of claim 1, the gaming
                                                 service being further configured to:

                                                   determine whether the mobile device is
                                                   authorized to use the gaming service based at
                                                   least in part on a determination whether an



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                                                identity of the mobile device that the mobile
                                                device itself is authorized to use the gaming
                                                service.
                                                20. The apparatus of claim 1, the gaming
                                                service being further configured to:

                                                determine whether the mobile device is
                                                authorized based at least in part on
                                                determining whether a mobile telephone
                                                number of the device has been signed up for
                                                the gaming service.
                                                21. The apparatus of claim 1, in which:

                                               the boundary of the gaming-allowed
                                               geographical area is, at least in part,
                                               established by factors other than a
                                               transmission boundary of a transmission base
                                               station.
21. An apparatus comprising:                   22. An apparatus comprising:
a mobile device configured to transmit         a mobile device configured to transmit
gaming requests to a gaming service,           gaming requests to a gaming service,
communicate through a communication            communicate through a communication
service, and provide a user interface to a     service, and provide a user interface to a
customer; and                                  customer; and
the gaming service, in which the gaming        the gaming service, in which the gaming
service is configured to:                      service is configured to:
determine that the mobile device is authorized determine whether the mobile device is
to use the gaming service based on one or      authorized to use the gaming service;
more characteristics of the device other than
location;
determine that the customer is authorized to   determine whether the customer is authorized
use the gaming service;                        to use the gaming service;
                                               to repeatedly:
determine that the device is associated with a determine whether the mobile device is within
first location in which gaming activity is     or without a geographical area in which the
allowed;                                       user is allowed to engage in gaming activity
                                               on the mobile device;
allow gaming activity based on the             allow or disallow the user's gaming activity
determination that the device is authorized,   based at least in part on the determination that
the determination that the user is authorized, the mobile device is authorized, the
and the determination that the device is       determination that the user is authorized, and
associated with the first location;            the determination that the mobile device is
                                               located within or without (respectively) the
                                               gaming-allowed geographical area; and
determine a period of time relative to the     determine a period of time to elapse until the


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determination of the first location after which   next repetition of determination whether the
a location redetermination of the device          mobile device is within or without the
should be made, in which the period of time is    gaming-allowed geographical area, the period
determined based on a distance of the first       of time to be based at least in part on a
location from a boundary of an area;              distance of the mobile device from a boundary
determine that the period of time has passed;     of the gaming-allowed geographical area.
and
in response to determining that the period of
time has passed, determine whether the device
is associated with a second location in which
gaming activity is allowed.
22. The apparatus of claim 21, in which the
gaming service includes one or more servers.
                                                  23. The apparatus of claim 22, the gaming
                                                  service being further configured to:

                                                  determine whether an operating system of the
                                                  mobile device is authorized to use the gaming
                                                  service.
23. The apparatus of claim 21, in which the       24. The apparatus of claim 22, in which the
mobile device includes a cellular telephone       mobile device includes a cellular telephone
and the communication service includes a          and the communication service includes a
cellular phone service.                           cellular phone service.
                                                  25. The apparatus of claim 22, the gaming
                                                  service being further configured to:

                                                  determine whether the operating system is
                                                  authorized is authorized for use with the
                                                  gaming service by generating a first hash from
                                                  a first portion of an approved operating
                                                  system file that is less that the entirety of the
                                                  file and a length of the file; and transmitting
                                                  an indication of the first hash for verification
                                                  by the gaming service.




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                                CERTIFICATE OF SERVICE

               I hereby certify that on November 8, 2019, I caused the foregoing to be electronically

filed with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

               I further certify that I caused copies of the foregoing document to be served on

November 8, 2019, upon the following in the manner indicated:


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